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                                                                                  October 16, 2020

BY ECF
The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Centre Street, Room 2202
New York, NY 10007

       RE:    United States v. Arguedas et al. (Denise Bullock), 20 Cr. 135 (JMF)
       Dear Judge Furman:

        We write respectfully to seek permission for defendant Denise Bullock to make several
short trips from her home incarceration. This requested travel would allow Ms. Bullock to
obtain an EBT card to buy food, visit with her children and immediate family for upcoming
holidays, and meet with her lawyers at their office. Ms. Bullock and her counsel would
coordinate all of these trips with Pretrial Services should Your Honor grant these requests.

        On September 15, 2020, Your Honor granted Ms. Bullock’s motion for conditional
pretrial release and imposed her proposed condition of home incarceration. The Court’s order
allows Ms. Bullock to leave freely for “necessary medical services,” and provides that “[a]ll
other leave from the residence must be submitted through defense counsel for the Court’s
approval.” (ECF No. 224 at 1-2.)

       Ms. Bullock respectfully requests that the Court permit her to make the following trips:

       1. To visit, as soon as reasonably practicable, an office of the New York City Human
          Resources Administration (or other appropriate location) to obtain or refill an EBT
          card. The government has indicated it does not object to this request.

       2. To visit her mother’s residence in Manhattan from November 23-30, 2020 (for the
          Thanksgiving holiday and her son’s November 30 birthday) and from December 24-
          January 1, 2021 (for the Christmas holiday through New Year’s Day). Her mother is
          a co-signer of her bond in this case, and the family will make arrangements for all
          four of her children to visit with Ms. Bullock for the holidays at her mother’s
          Manhattan residence, should Your Honor grant this request. The government has
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            indicated it defers to Pretrial Services on this request. On October 16, 2020, we
            spoke with Pretrial Specialist Bernisa M. Mejia, who is supervising Ms. Bullock
            during her pretrial release. While Specialist Mejia does not have discretion to consent
            to overnight visits for supervisees under home incarceration, she permitted us to relay
            that Ms. Bullock “is doing extraordinarily well” under her supervision.

        3. To attend a legal meeting at our offices in Manhattan before the upcoming November
           2 conference in this case. The government indicated it does not object to this request.

         Finally, we understand Your Honor’s September 15 order to require leave of Court before
 we can arrange for legal meetings with Ms. Bullock at our offices. (See ECF No. 224 at 1-2
 (“All other [non-medical] leave from the residence must be submitted through defense counsel
 for the Court’s approval”).) We respectfully request that Your Honor modify the September 15
 order to the limited extent of permitting us to arrange such visits in coordination with Pretrial
 Services but without leave of Court. The government has indicated that it does not object to this
 request.

        Thank you for your consideration of this matter.
                                                     Respectfully submitted,



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                                                     Counsel for Denise Bullock

 cc:    AUSAs Danielle Sassoon, Andrew Chan, and Brandon Harper (via ECF)
        PSO Bernisa Mejia (via email)

Application DENIED as to Item #2, which is inconsistent with the concept of home incarceration.
Application GRANTED in all other respects. The Clerk of Court is directed to terminate Doc.#241.

              SO ORDERED.



                             October 19, 2020
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